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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


ROBERT R. BRINSON, M.D.,           )
                                   )
     Plaintiff,                    )
                                   )         CIVIL ACTION NO.
     v.                            )           2:20cv395-MHT
                                   )                (WO)
JACKSON HOSPITAL and               )
CLINIC, INC., et al.,              )
                                   )
     Defendants.                   )

                                ORDER

    This lawsuit, which was removed from state to federal

court based on federal-question jurisdiction, 28 U.S.C.

§§ 1331, 1441, is now before the court on plaintiff’s

motion to remand.      In this case, a gastroenterologist is

suing the leadership of Jackson Hospital, where he works,

under various tort theories for allegedly slandering him,

instigating     a   false     prosecution       against     him,       and

conspiring to oust him from the hospital because he

refused to sell them his practice and complained about

various aspects of their medical practice and leadership.

Defendants removed the case to this court via § 1331
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federal-question          jurisdiction       on    the   theory    that    a

federal question is raised by the complain--even though

it    contains     only    state     law    claims--for     two   reasons:

first, because, among the long list of alleged motives

for     the    retaliation,          plaintiff     mentions       that    he

complained about defendants violating federal law; and,

second, because defendants say (incorrectly) that the

Health Care Quality Improvement Act, which regulates the

hospital peer review process, preempts certain parts of

plaintiff’s       retaliation        claims.      Neither   suffices      to

convey jurisdiction.

       The court therefore agrees with plaintiff that this

case should be remanded to state court.                       No federal

question      arises      on   the   face    of   plaintiff’s     properly

pleaded complaint, and no substantial question of federal

law is necessarily raised by it.               See Gunn v. Minton, 568

U.S. 251, 258 (2013).                Nor does federal law preempt

plaintiff’s claims.            See Smith v. GTE Corp., 236 F.3d

1292, 1311 (11th Cir. 2001).




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    Accordingly, it is the ORDER, JUDGMENT, and DECREE

of the court that plaintiff’s motion to remand (doc. no.

6) is granted and that, pursuant to 28 U.S.C. § 1447(c),

this cause is remanded to the Circuit Court of Montgomery

County, Alabama.

    The   clerk     of    the    court    is    DIRECTED      to   take

appropriate steps to effect the remand.

    This case is closed in this court.

    DONE, this the 23rd of September, 2020.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




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